      Case 1:11-cr-00223-AWI-BAM Document 171 Filed 02/06/15 Page 1 of 2
                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA


                                       MEMORANDUM



Honorable Anthony W. Ishii                    RE: Maria Martha Lopez
Senior District Court Judge                       Docket Number: 1:11CR00223-001
Fresno, California                                PERMISSION TO TRAVEL
                                                  OUTSIDE THE COUNTRY

Your Honor:


Maria Martha Lopez is requesting permission to travel to Zinapecuaro, Michoacan in Mexico.
She is requesting to travel for a period of two weeks. She is current with all supervision
obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date:         On March 25, 2013, the offender was sentenced for the
offense(s) of 21 USC 856(a)(1), Maintaining a Drug-Involved Premises.


Sentence Imposed: The offender was sentenced to 3 months Bureau of Prisons; 36 months
Supervised Release; 3 months Electronic Monitor; Search; Testing.


Dates and Mode of Travel: The offender has requested to travel to Mexico for a period of 2
weeks. She plans on traveling via airplane. Also traveling with her will be her 17 year old son,
her adult daughter, and two minor grandkids. The offender is waiting for the Court’s approval
prior to securing an airline ticket.


Purpose: The offender indicated she wishes to travel to Mexico to visit her husband who is a
co-defendant in this case and was deported following his term of imprisonment. She indicated
she will be residing with her parents while in Mexico.




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                                                                                        REV. 05/2013
                                                         TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
      Case 1:11-cr-00223-AWI-BAM Document 171 Filed 02/06/15 Page 2 of 2
RE:      Maria Martha Lopez
         Docket Number: 1:11CR00223-001
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


If the Court has any questions or needs additional information please contact this officer at (559)
734-2933.
                                        Respectfully submitted,


                                          /s/ Yasmin Villegas

                                        YASMIN VILLEGAS
                                  Sr. United States Probation Officer


Dated:      February 5, 2015
            Visalia, California
            Yv
                                /s/ Ben J. Blankenship
 REVIEWED BY:                 BEN J. BLANKENSHIP
                              Sr. United States Probation Officer




                                     ORDER OF THE COURT

          ☒        Approved         ☐      Disapproved

IT IS SO ORDERED.

Dated: February 6, 2015
                                              SENIOR DISTRICT JUDGE




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                                                                                         REV. 09/2013
                                                          TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
